 Case 18-00062       Doc 134  Filed 11/19/20 Entered 11/20/20 09:54:02          Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                              )   BK No.:      16-12928
Dennis Kovalsky,                                    )
                                                    )   Chapter: 7
                                                    )
                                                        Honorable Deborah L. Thorne
                                                    )
                                                    )
                                 Debtor(s)          )
Phillip D. Levey, Trustee,                          )   Adv. No.: 18-00062
                                                    )
                                                    )
                                 Plaintiff(s)
Linda M. Kovalsky,                                  )
                                                    )
                                                    )
                                 Defendant(s)       )

         ORDER GRANTING PLAINTIFF'S MOTION TO EXTEND TIME TO FILE A SUPPLEMENT
                                TO THE MOTION IN LIMINE

      This matter coming to be heard on Plaintiff's motion (the "Motion") to Extend
Time to Supplement the Expert Report of Tedd Davis, due notice having been served,
and the Court being advised in the premises, IT IS HEREBY ORDERED THAT:

            1. The Motion is granted as provided herein;

          2. The time for the Trustee/Plaintiff to file a supplement to the Motion
in Limine is extended to and including November 30, 2020 .




                                                  Enter:


                                                            Honorable Deborah L. Thorne

Dated: November 19, 2020                                    United States Bankruptcy Judge

 Prepared by:
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